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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-CR-20087-ALTONAGA

  UNITED STATES OF AMERICA,

        Plaintiff,
  vs.

  DIANALIS MOLINA NODA

        Defendant.
  ________________________________/


   MOTION TO COMPEL NEGATIVE COVID-19 TEST RESULTS FROM ALL
        WITNESSES AND PARTICIPANTS IN UPCOMING TRIAL


        Comes now, the Defendant, DIANELIS MOLINA NODA, by and through

  undersigned counsel and motions this Court for an order requiring all parties

  involved in the upcoming trial to provide a negative Covid-19 test result taken within

  forty-eight (48) hours of their anticipated presence inside the courtroom. Specifically,

  the defense is requesting that all courtroom personnel, prospective jurors,

  government lawyers, government witnesses, defense attorneys and the defendant

  provide the court with a negative Covid-19 test prior to their arrival inside the

  courtroom.

        As grounds for said motion the defendant alleges the following: (a) the defense

  is concerned about the health of the defendant, her baby, defense counsel and all of

  the participants in the upcoming jury trial; (b) the defendant is not vaccinated; (c) the

  defendant is pregnant; (d) the Centers for Disease Control and Prevention (CDC)



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  state that “although the overall risk of severe illness is low, pregnant people are at a

  higher risk for severe illness from COVID-19 when compared to non-pregnant people”

  (www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/pregnant-people.html);

  (e) the CDC further states that “pregnant and recently pregnant people are more

  likely to get severely ill from COVID-19 compared to non-pregnant people” and

  “severe illness means that a person with COVID-19 may need hospitalization,

  intensive    care        or     a     ventilator      or    special   equipment     to        help    them

  breathe.(www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/pregnant-

  people.html#anchor_1614966846976); (f) the delta variant is now the predominant

  strain of the virus in the United States and is a more contagious version of COVID-

  19,    in   fact    it    is        nearly    twice    as     contagious   as     previous       variants

  (www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html);                     (g)       the    delta

  variant is of special concern for the unvaccinated - “the greatest risk of transmission

  is among unvaccinated people who are much more likely to contract, and therefore

  transmit       the            virus.”        (www.cdc.gov/coronavirus/2019-ncov/variants/delta-

  variant.html); and (h) the seven day average COVID-19 positivity rate in Miami-

  Dade        County              as       of        August         11,      2021          is          14.15%

  (www.miamidade.gov/global/initiatives/coronavirus/home.page).

         In order to assure the safety of the defendant, counsel and all parties involved

  in the upcoming jury trial, the defense moves for an order requiring all participants

  to provide a negative COVID-19 test within forty-eight (48) hours of their presence in

  the courtroom.



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        Assistant United States Attorneys Abbie Waxman and Adam Hapner do not

  oppose this motion as long as it does not delay the start of the trial.



                                           Respectfully submitted,

                                           MICHAEL CARUSO
                                           FEDERAL PUBLIC DEFENDER

                                    By:    /s/ Christian Dunham
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                            CERTIFICATE OF SERVICE

        I HEREBY certify that on August 13, 2021, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify

  that the foregoing document is being served this day on all counsel of record or

  pro se parties identified in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.



                                           /s/ Christian Dunham



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